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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

NO.

JOHN DOE, JOHN DOE, SR. and
JANE DOE,

  

Plaintiffs

VS.

FATHER ERIC ENSEY, FATHER CARLOS : JUDGE ¥EH
URRUTIGOITY, DIOCESE OF SCRANTON, °
BISHOP JAMES C. TIMLIN, THE
SOCIETY OF ST. JOHN, THE PRIESTLY :
FRATERNITY OF ST. PETER, and : JURY TRIAL DEMANDED
ST. GREGORY’S ACADEMY,

Defendants

 

C O M P L A I N T

Now coMs` the Plaintiffs, John noe, John noe, sr., and Jane
Doe, by and through counsel, James M. Bendell, Esquire and Douglas
Clark, Esquire, and hereby complains of the above-named Defendants

as follows:
I- §§Bl§QlQIlQH
l. The United Statss District Court for the Middle District
of Pennsylvania has subject matter jurisdiction over this diversity
Claim brought forth by the Plaintiffs arising under Psnnsylvania
state law inasmuch. as the Plaintiff is a :non-residsnt of the

Commonwealth. of Pennsylvania and the Defendants and corporate

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entities are Pennsylvania residents. In addition, the amount in

controversy here exceeds the sum of $75,000.00.

II . VEN'UE
2. The United States District Court for the Middle District
of Pennsylvania is the proper venue for this action since all of

the complained of actions occurred within this District.

III. LABT_I_E§

3. Plaintiff, John Doe, is presently an adult and competent
individual who resides in the State of North Carolina. At certain
relevant times herein, the Plaintiff was a minor. Plaintiffs, John
Doe, Sr. and Jane Doe, were at all times mentioned in this

Complaint,-residents of the State of North Carolina and the parents

of the minor Plaintiff, John Doe.

4. The Defendant, Father Eric Ensey, is an adult and
competent individual who at all relevant times herein was a member
of the Society'of Saint John, a clerical association of the Diocese
of Scranton and who at certain material times herein resided at
property‘ owned. by' the Society' of Saint John in Shohola, Pike

County, Pennsylvania and at St. Gregory’s Academy' in Moscow,

 

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Lackawanna County, Pennsylvania.

51 Father' Carlos Urrutigoity' is an. adult and competent
individual who is the principal founder and current Superior
General of the Society of Saint John and who at certain material
times herein resided at property owned by the Society of Saint John
in Shohola, Pike County, Pennsylvania and at St. Gregory’s Academy
in Moscow, Lackawanna County, Pennsylvania.

6. The Defendant, Diocese of Scranton, is, and was at all
times nentioned in the Complaint, a corporation organized and
existing under the laws of the Commonwealth of Pennsylvania, with
its principal place of business located at 300 Wyoming Avenue,
Scranton, Lachawanna County, Pennsylvania.

7; The Most Reverend James _C. Timlin is an adult and
competent individual, who at all times mentioned herein was the

Bishop of the Diocese of Scranton.

8. The Society' of Saint John is a diocesan clerical
association of the Diocese of Scranton.

9. The Priestly Fraternity of Saint Peter is a pontifical
clerical association whose North American Headquarters are located
in Moscow, Lackawanna County, Pennsylvania.

lO. Saint Gregory’s Academy, owned and. operated. by the

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Priestly Fraternity of St. Peter, is all boys High School located
on property owned by the Diocese of Scranton in Moscow, Lackawanna

County, Pennsylavania.

IV. FAC'I‘UAL BACKGROU'ND APPLICABLE TO ALL CLAIMS

ll. The Society of Saint John is a diocesan clerical
association of the Diocese of Scranton.

12. The ordinary Diocese and Bishop of Scranton, the Most
Reverend James C. Timlin, has an obligation of law of vigilance in
regard to the Society, as a clerical association of the Diocese of
Scranton, and a responsibility for the integrity of the Society’s
faith, morals' and the proper administration of goods in the
Society’s possession.

13. Clerical members of the Society, priests and deacons, are
incardinated in the Diocese of Scranton subject to the jurisdiction
of the Bishop of Scranton. Prior to incardination, Bishop James C.
Timlin is required to have “appropriate testimonials, concerning
the clerics life, morals and studies.” Code of Canon Law of the
Catholic Church.

14. As incardinated clerics of the Diocese of Scranton, the

clerical members of the Society of St. John are no more than

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diocesan priests with permission to live together according to a
rule of life and in order to carry out a certain apostolic mission.
The Diocese and Bishop have the authority and power to suppress the
Society at any time for a cause.

15. The Reverend Carlos Urrutigoity, principal founder and
current Superior General of the Society, prior to being received
into the Diocese of Scranton, was an irregular cleric and member of
a clerical society, the Society of Saint Pius X, founded by the
late Archbishop Marcel Lefebvre. Reverend Urrutigoity was validly
ordained to the priesthood by Bishop Williamson, a Bishop of the
Society of Saint Pius X, in Winona, Minnesota.

16. Prior to being incardinated in the Diocese of Scranton,
an incident of homosexual molestation took place between Father
Urrutigoity and a former seminarian.

17. Father‘ Urrutigoity' taught at a seminary' of La_ Reja
(Society of Saint Pius X) in Argentina. While there, he came under
a cloud of accusation of homosexualityx After Father Urrutigoity's
departure from La Reja, Bishop Williamson brought him to the Pius
X seminary in Winona, Minnesota with permission and warning from
Archbishop Lefebvre that Urrutigoity was to be monitored.

18. In the early 1990s, Bishop Williamson ordained

 

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Urrutigoity to the priesthood and afterward named him Professor of
the Seminary in Winona, Minnesota.. While teaching at the
Seminary, Urrutigoity cultivated a certain following and began to
develop his vision, which became the Society of Saint John, to wit,
a Catholic village, plus an educational system and high Latin
liturgy.

19. After subversive activity, Urrutigoity was dismissed by
Bishop Williamson from the Seminary. He departed.Winona, Minnesota
with some followers.

20. Father Urrutigoity and associates, under no
ecclesiastical jurisdictionq wandered from.place to place as guests
of owners of private residences. Eventually, they realized they
were in an irregular situation and must find a home in and under a
regular diocese.

21. In the Fall 1997, Father Urrutigoity and his followers,
clerics and seminarians, were accepted into the Diocese of Scranton
by Bishop Timlin. The Diocese of Scranton, at this early stage,
gave the Society canonical recognition. (Recognitio.)

22. Due to the fact that Urrutigoity came from the Society of
Saint Pius X, Bishop Timlin arranged, with the cooperation of the

Fraternity of Saint Peter, to have Urrutigoity and his associates

 

 

 

temporarily lodged. in the wing' of the diocesean building' in
Moscow, Lackawanna County, Pennsylvania, which houses the
headquarters of the Fraternity and its Boy's School, Saint
Gregory’s Academy.

23. The Fraternity was founded in 1988 by the former members
of the Society' of Saint Pius X, who left the Society' after
Archbishop Lefebvre consecrated.four Bishops, including Williamson,
without permission from the Holy See.

24. The Fraternity has legitimate chapels on the property of
Saint Gregory's Academy as well as throughout the United States and
in -other countries. Like the Society of Saint John's, the
Fraternity of Peter has permission for the exclusive celebration of
the pre-conciliar Latin mass. Unlike the Society, the Fraternity
is a pontifical organization directly under the authority of the
Pope, although no Bishop is required to let them into his Diocese.
Conversely, the Society of Saint John answers directly to Bishop
Timlin and the Diocese of Scranton.

25. On May 24, 1998, Bishop Timlin canonically erected the
Society of Saint John making it a public clerical association of
the Diocese of Scranton.

26. In October, 1998, Bishop Timlin ordained two Society

Case 3'02-CV-

members of the priesthood: Father Basil Sarweh and Father Dominic
Carey.

27. In July, 1999, Anxiliary Bishop John Dougherty, the
Diocesan Vicar of Priests Kopacz, as well as a Diocesan attorney,
were dispatched by the Diocese of Scranton to Minnesota, prompted
by a letter from Bishop Fellay of the Society of Saint Pius X
authored in February 1999, to hear personal testimony concerning
the aforesaid homosexual molestation of a former Winona seminarian
by Reverend Urrutigoity. Bishop Williamson.of the Society of Saint
Pius X was present during this testimony.

28. Despite this evidence, the Diocese of Scranton, through
Bishop Timlin, allowed the Society to continue on as chaplains at
Saint Gregory’s Academy surrounded by adolescent male students.

29. -Since the outset at their stay at Saint Gregory’s, the

Society of Saint John’s members, Father Carlos Urrutigoity and
Father Eric Ensey, cultivated intimate relationships with students
of Saint Gregory’s, plied minors at Saint Gregory's with alcohol,
as well as sleeping with them.

30. The Plaintiff, John Doe, a minor at the time, began to
attend school at Saint Gregory's Academy at the commencement of

1995-96 academic year.

 

 

 

31. It was during the Fall of 1997, during the Plaintiff’s
junior year, the members of the Society of Saint John’s arrived at
Saint Gregory's Academy.

32. In September, 1999, the Society purchased property in
Shohola, Pennsylvania.

33. The Society of Saint John purchased the property for 2.2
million dollars. Included on the property is a stone and wood
frame country cottage, a wood frame hunting lodge and a stable
later converted into a chapel. The Society used that property as
well as a home adjacent to that property, now or formerly owned by
the Sciambra family of Napa, California. Another property located
on the adjacent side of Legislative Route 434 owned by Mrs. Shirley
marina waa utilized by the society The sciambra family ana Mra.

Kostiuc now, or have, evicted the Society from their premises.

V. FIRS'I‘ CAUSE OF AC‘TION - ASSAULT AND BATTERY

Plaintiffs' John Doe, John Doe, Sr. and Jane Doe
vs. Father Eric Ensey and Father Carlos Urrutigoity

34. Paragraphs l through 33 are incorporated by reference as
if fully set forth at length herein.

35. During the Plaintiff, John Doe's, minority, and while a

 

student at Saint Gregory’s Academy, the Plaintiff was repeatedly

provided alcohol and tobacco by the Defendant, Father Eric Ensey.
Father` Ensey' had developed aa unhealthy relationship with the
Plaintiff, John Doe, under the guise of providing spiritual
direction.

36. On several occasions during the Plaintiff's matriculation
at Saint Gregory's, Defendant, Father Eric Ensey, without any
encouragement or inducement by the Plaintiff, a minor at the time,
coerced the Plaintiff, John Doe, into engaging in various
homosexual acts with Father Enseyl This conduct by Father Ensey
occurred not only while the Plaintiff was at Saint Gregory’s but
also during a visit to California to Father Ensey's family home
during Thanksgiving 1998.

37. \Subsequently, Father Ensey conveyed to the Plaintiff,
John Doe, that he should begin receiving “spiritual direction” from
the Defendant, Father Urrutigoity, rather than from Father Ensey
and that Ensey and the Plaintiff should remain “very close
friends”.

38. In the Fall of 2000, while a postulant with the Society
of Saint John, the Plaintiff, was requested to sleep in Father

Ensey’s bed but when Father Ensey‘ began to attempt intimate

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contact, the Plaintiff sought out other arrangements for sleeping
from the Defendant, Father Urrutigoity.

39. Father Urrutigoity informed the Plaintiff that the guest
room at the house was reserved for very important visitors and that
the Plaintiff should sleep with Father Urrutigoity. The Plaintiff
did not suspect Father Urrutigoity of being capable of the same
behavior as Father Ensey but after several nights of sleeping
together in the same bed, Father Urrutigoity directed inappropriate
homosexual contact to the Plaintiff.

40. The Plaintiff began to seek other living arrangements and
was finally given a bed in the stairwell at the Kostiuc property.

41. As a direct and proximate result of the Defendant Ensey's
and Urrutigoity's assault and battery as described above, the
Plaintiff,- John Doe, has suffered permanent, emotional and
psychological injury, all to the Plaintiff's general damage in an
amount in excess of $75,000.00.

42. As a further direct and proximate result of the Defendant
Ensey’s and Urrutigoity's assault and battery as described above,
John Doe, Sr. and Jane Doe, were required to expend monies for the
medical care and treatment of the Plaintiff, John Doe’s, emotional

and psychological injuries, all to the Plaintiff’s financial

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CaSe 3:02-CV-OO444-JEJ D00umem`1 Filed O'%/?O/O? ___P

detriment.

43. Plaintiffs are informed and believe, and based upon
information and belief, alleges that the Plaintiffs, John Doe, Sr.
and Jane Doe, as parentsr will be required to expend additional
sums for further medical care and treatment of the emotional and
psychological injuries suffered by the Plaintiff, John Doe, the
exact amount of which is unknown to the Plaintiff's parents at this
time.

44. Plaintiff, John Doe, is informed and believes, and based
upon that information and belief, alleges that he will be required
to expend additional sums for further medical care and treatment of
the emotional and psychological injuries suffered by him, the exact
amount of which is unknown to the Plaintiff, John Doe, at present.

45. The acts of the Defendants Ensey and Urrutigoity, as
alleged above, were done willfullyy maliciously' and in_ wanton
disregard of the rights of the Plaintiff. As a result, Plaintiff
is entitled to an award of punitive damages.

WHEREFORE, Plaintiff requests judgment against Defendant as

set forth below.

VI. SECOND CAUSE OF ACTION - NEGLIGENCE

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Plaintiffs’ John Doe, John Doe, Sr. and Jane Doe

vs. Bishop James C. Timlinl Diocese of Scranton and
the Society of St. John

46. Paragraphs 1 through 45 are incorporated by reference as
if fully set forth at length herein.

47. The Diocese of Scranton through Bishop James C. Timlin
has an obligation of vigilance in regard to the Society as a
clerical association of the Diocese.

48. The Diocese can appoint a Trustee to direct the Society
or suppress it. During relevant times herein, the Diocese of
Scranton appointed a special counsel headed by Anxiliary Bishop
John M. Daugherty to oversee the troubled financial state of the
Society.

4§. Beginning, at the very least in February, 1999, the
Diocese of Scranton, through Bishop James C. Timlin, was placed on
notice of alleged homosexual behavior on behalf of members of the
Society of Saint John.

50. The Defendant, Diocese of Scranton, through Bishop James
C. Timlin, knew, or in the exercise of reasonable care, should have
known, that if the complaints were not properly investigated by the
Diocese of Scranton, that the Defendants Ensey and Urrutigoity

would continue to sexually molest young men at Saint Gregory’s,

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such as the Plaintiff, John Doe.

51. Defendants, Bishop James C. Timlin, Diocese of Scranton,

and the Society of St. John, in breach of their duties and

obligations concerning the matters alleged in this Complaint,

negligently and carelessly:

(a)

(d)

failed to advise parents of children enrolled at
Saint Gregory’s Academy that complaints had been
made to the Diocese of Scranton that the Defendants
Ensey and Urrutigoity were probably engaging in
homosexual act with a student or students at the
Academy;

failed to properly investigate the complaints that
the Defendants Ensey and Urrutigoity were probably

engaging in homosexual acts with a student or

students at the Academy;

failed to follow the canonical standards adopted by
the Catholic Church concerning the members of the
Society of Saint John;

failed to suspend the Defendants Ensey and
Urrutigoity pending a complete investigation;

failed to terminate Ensey and Urrutigoity as

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diocesan priest;

(f) granted recognition to the Society of Saint John
after the Diocese of Scranton or, in the exercise
of reasonable care, should have known, that members
of the Society, including its Superior General, had
a history of homosexual molestation;

(g) failed to fully,-timely and completely report to
law enforcement agencies relative to the complaints
received concerning Defendants Ensey and
Urrutigoity; and

(h) failed to otherwise act with due care.

52. As aa direct and proximate result of the Defendants
Diocese of Scranton, Bishop Timlin's, and the Society of St. John’s
negligence, as described above, Defendants Ensey and Urrutigoity
were permitted to continue residing at Saint Gregory’s Academy as
well as engaging in homosexual nwlestation at the Pike County
property, thus allowing the Defendants Ensey and Urrutigoity to
continue to sexually abuse the Plaintiff, John Doe.

53. As a further direct and proximate result of the
Defendants' negligence as described above, Plaintiff, John Doe, has

suffered permanent, emotional and psychological injury, all to his

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detriment and loss.

54. As a further direct and proximate result of the
Defendants’ negligence as described above, the Plaintiffs, John
Doe, Sr. and Jane Doe, were required to expend monies for the
medical and psychological care and treatment of the Plaintiff, John
Doe's, emotional and psychological injuries, all to their great
financial detriment and loss.

55. Plaintiffs, John Doe, Sr. and Jane Doe, are informed and
believe, and based upon that information and belief, allege that
they will be required to expend additional sums for further medical
care and treatment of the emotional and psychological injuries
suffered by their son, the minor Plaintiff, John Doe, the exact
amount of which is unknown to the Plaintiff parents at this time,

56. As a further direct and proximate result of the Defendant
Diocese of Scranton's and Bishop James C. Timlin's negligence as
described above, the Plaintiff, John Doe, based upon information
and belief, believes that he will be required to expend additional
sums for further medical care and treatment of the emotional and
psychological injuries suffered by him, the exact amount of which
is unknown to the Plaintiff, John Doe, at this time.

57. The acts of the Defendants, Diocese of Scranton and

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Bishop James C. Timlin, as alleged above, were done willfully,
maliciously and in wanton disregard of the rights of the Plaintiff.
As a result, Plaintiffs are entitled_ to an award_ of punitive
damages.
WHEREFORE, Plaintiff requests judgment against Defendant as
set forth below.
VII. THIRD CAUSE OF ACTION - NEGLIGENCE

Plaintiffs’ John Doe, John Doe, Sr. and Jane Does
vs. Fraternitv of St. Peter and St. Greqorv’s Academy

58. Paragraphs 1 through 57 are incorporated by reference as
if fully set forth at length herein.

59. The Fraternity of St. Peter has an obligation of
vigilance in regard to the activities at St. Gregory's Academy.

60. Beginning at the very least in February, 1999, homosexual
behavior was occurring at St. Gregory's Academy as set forth above.

61. The Fraternity cf St. Peter knew, or in the exercise of
reasonable care, should have known, that physical assaults were
occurring at St. Gregory’s Academy against young men, including the
minor plaintiff.

62. Defendants, Fraternity of St. Peter and St. Gregory's

Academy, in breach of their duties and obligations concerning the

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matters alleged in this Complaint, negligently and carelessly:

(a)

(C)

(d)

(e)

63. AS

failed to advise parents of children enrolled at
Saint Gregory's Academy that complaints had been
made to the Diocese of Scranton that the Defendants
Ensey and Urrutigoity were probably engaging in
homosexual act with a student or students at the
Academy;

failed to properly investigate the complaints that
the Defendants Ensey and Urrutigoity were probably
engaging in homosexual acts with a student or
students at the Academy;

failed to follow the canonical standards adopted by
the Catholic Church concerning the members of the
Society of Saint John;

failed to fully, timely and completely report to
law enforcement agencies relative to the complaints
received concerning Defendants Ensey and
Urrutigoity; and

failed to otherwise act with due care.

a direct and proximate result of the Defendants’

negligence, as described above, Defendants Ensey and Urrutigoity

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were permitted to continue residing at Saint Gregory's Academy as
well. as engaging ill homosexual molestation at inns Pike County
property, thus allowing the Defendants Ensey and Urrutigoity to
continue to sexually abuse the Plaintiff, John Doe.

64. As a further direct and proximate result of the
Defendants’ negligence as described above, Plaintiff, John_Doe, has
suffered permanent, emotional and psychological injury, all to his
detriment and loss.

65. As a further direct and proximate result of the
Defendants’ negligence as described above, the Plaintiffs, John
Doe, Sr. and Jane Doe, were required to expend monies for the
medical and psychological care and treatment of the Plaintiff, John
Doe’s, emotional and psychological injuries, all to their great
financial detriment and loss.

66. Plaintiffs_. John Doe, Sr. and Jane Doe, are informed and
believe, and based upon that information and belief, allege that
they will be required to expend additional sums for further medical
care and treatment of the emotional and psychological injuries
suffered by their son, the minor Plaintiff, John Doe, the exact
amount of which is unknown to the Plaintiff parents at this time.

67. As a further direct and proximate result of the

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Defendants’ negligence as described above, the Plaintiff, John Doe,

based upon information and belief, believes that he will be
required to expend additional sums for further medical care and
treatment of the emotional and psychological injuries suffered by
him, the exact amount of which is unknown to the Plaintiff, John
Doe, at this time.

68. The acts of the Defendants, as alleged above, were done
willfully, maliciously and in wanton disregard of the rights of the
Plaintiff. As a result, Plaintiffs are entitled to an award of
punitive damages.

WHEREFORE, Plaintiff requests judgment against Defendant as
set forth below.

VIII. FOURTH CAUSE OF ACTION - AGENCY

69. Paragraphs l through 68 are incorporated by reference as
if fully set forth at length herein.

70. The Catholic Church requires that each Diocese
investigate complaints of homosexual behavior against a member of
the clergy who is morally unfit and does not meet the standards the
Catholic Church requires.

71. The investigation, suspension or termination of the

Defendants Ensey and Urrutigoity would have been in furtherance of

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the standards of the Catholic Church.

72. For purposes of restricting Defendants Ensey and
Urrutigoity and investigating the complaints that the Defendants
Ensey' and 'Urrutigoity' were engaged in. homosexual acts with_ a
student or students of the Academy, Defendants, Society of Saint
John, Father Eric Ensey and Father Carlos Urrutigoity, acted as the
agent of the Defendant, Diocese of Scranton.

73. As a direct and proximate result of the agency alleged
above, Defendant, Diocese of Scranton, is liable for the acts of
the Defendants Ensey and Urrutigoity.

WHEREFORE, Plaintiff requests judgment against Defendant as
set forth below.

lIX. FIFTH‘CAUSE OF ACTION - INTENTIONAL INFLICTION

OF EMOTIONAL DISTRESS

Plaintiffsc John Do`ef John Doez Sr. and Jane Doe,
vs. All Defendants

74. Paragraphs l through 73 are incorporated by reference as
if fully set forth at length herein.

75. Defendant knew, or in the exercise of reasonable care
should have known, that his sexual assaults and battery and abuse

of Plaintiff would result in serious emotional distress to the

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CaSe 3'02-CV-OO/l/l/l-JE.1 Dor‘umem 1 l:i|ed 08/90/09 F?a n-

Plaintiff.

76. In doing the acts alleged above, Defendants acted with
willful, wanton, reckless, intentional and deliberate disregard for
the likelihood that Plaintiff would suffer severe emotional
distress as a direct and proximate result of the sexual abuse of
Plaintiff.

77. Defendant’s conduct as alleged above was extreme and
outrageous, and went beyond all bounds of decency.

78. As a direct and proximate result of Defendant's wrongful
actions and sexual assaults and battery and abuse as described
above, Plaintiff suffered severe emotional distress.

WHEREFORE, Plaintiff requests judgment against Defendant as

set forth below.'

X. SIXTH CAUSE OF ACTION - NEGLIGENT INFLICTION
OF EMOTIONAL DISTRESS

Plaintiffs, John Doe, John Doe, Sr. and Jane Doe,
vs. All Defendants

79. Paragraphs 1 through 78 are incorporated by reference as
if fully set forth at length herein.

80. Defendant knew, or in the exercise or reasonable care

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Case 3:02-Cv-OO4/'/'-JEJ Dm‘umenH Filed 08/90/09 Ds--e

   

should have known, that his sexual assaults and battery and abuse
of Plaintiff would result in serious emotional distress to the
Plaintiff,

81. Defendant, as Plaintiff John Doe's advisor and spiritural
counselor, and in whom was placed Plaintiff’s confidence and trust,
owed a duty to Plaintiff to refrain from sexually assaulting and
abusing Plaintiff.

82. Defendant negligently and carelessly breached the duty
described above by negligently and carelessly engaging in acts of
sexual assault, battery and abuse with Plaintiff in disregard for
the likelihood that Plaintiff would suffer severe emotional
distress as a direct and proximate result of the sexual abuse of
Plaintiff.

83. Defendant's conduct as alleged_ above was extreme and
outrageous, and went beyond all bounds of decency.

84. As a direct and proximate result of Defendant’s
negligence and carelessness as described above, Plaintiff suffered
severe emotional distress.

WHEREFORE, Plaintiff requests judgment against Defendant as

set forth below.

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XI. SEVENTH CAUSE OF ACTION - INVASION OF PRIVACY

Plaintiffsc John Doec John Doez Sr. and Jane Doe
vs. Father Eric Ensey and Father Carlos Urrutigoity

85. Paragraphs l through 84 are incorporated by reference as
if fully set forth at length herein.

86. Defendant's wrongful actions and sexual assault and
battery and abuse of the Plaintiff as described above were an
invasion of the Plaintiff’s privacy and were done in malicious and
wanton disregard of the Plaintiff’s feelings, character and
reputation.

87. As a direct and proximate result of Defendant’s invasion
of `Plaintiff's privacy as described above, Plaintiff suffered
embarrassment, public ridicule, humiliation and mental pain and
anguish.

WHEREFORE, Plaintiff requests judgment against Defendant as

set forth below.

XII.EIGHTH CAUSE OF ACTION - BREACH OF DUTY (IN LOCO PARENTI§l

Plaintiffsc John Doel John Doec Sr. and Jane Doe
vs. All Defendants

88. Plaintiff incorporates Paragraphs 1 through 87 of this

Complaint as if set forth in full here.

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89. Defendant, acting in loco parentis, and in whom was

placed Plaintiff’s confident and trust, owed a duty to Plaintiff to
take care of, and act in the best interest of Plaintiff.

90. Defendant breached the duty he owed to Plaintiff by
engaging in wrongful acts and sexual assaults, battery, and abuse

of Plaintiff as described above.

WHEREFORE, Plaintiff requests judgment against the Defendants,

jointly and severally:

(l) In an amount in excess of Seventy Five Thousand
($75,000.00) Dollars compensatory damages;

(2) In the amount of One Million (81,000,000.00)
Dollars as punitive damages;

(3) Awarding Plaintiff the costs of this action; and

la) Granting Plaintiff such as other and further relief
as the Court deems just and proper.

 

 

P.O. Box 587

Port Townsend, WA 98368

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DOUGM S A. CLARK
716 Adele Drive
Peckville, PA 18452

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